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Description Appearance Sheet For the United States District Court Western District of Virginia
              Charlottesville Division; Sines et al v. Kessler et al; Case No. 3:17CV72; Date:
              11/9/18; Type of Hearing: Telephonic Motion Hearing: Parties: 1. Joel C. Hoppe,
              USMJ; 2. Roberta Kaplan; 3. Gabrielle Tenzer; 4. Philip Bowman; 5. James
              Kolenich; 6. John DiNucci; 7. Bryan Jones; 8. David Campbell; Recorded by Heidi N.
              Wheeler; Time in Court: 56 min
Date          11/9/2018 Location [CVILLE-3FTR]
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Appearance Sheet For the United States District Court Western District of Virginia Charlottesville
                                                                                    [CVILLE-3FTR]

   Time      Speaker                                        Note
2:32:45 PM 1
2:35:02 PM 1,2,3,4,5       Roberta Kaplan, Gabrielle Tenzer, Philip Bowman, James Kolenich

2:35:07 PM    1,
2:35:08 PM    6            John DiNucci
2:35:17 PM    1
2:35:19 PM    7            Bryan Jones
2:35:28 PM    1
2:35:31 PM    8            David Campbell
2:35:42 PM    1
2:36:16 PM    9
2:36:17 PM    1
2:36:49 PM    3            Gabrielle Tenzer
2:37:19 PM    1,3,1,3
2:39:49 PM    1
2:40:11 PM    3
2:40:53 PM    1
2:41:04 PM    3
2:41:15 PM    1,5
2:42:08 PM    1,5
2:43:19 PM    1,5
2:44:47 PM    1,3,1
2:45:08 PM    5
2:46:13 PM    1,5
2:47:33 PM    1,3
2:48:15 PM    1,5
2:49:29 PM    1,6
2:51:17 PM    1,6
2:53:58 PM    1,6
2:55:06 PM    1,3
2:56:08 PM    1,6
2:58:14 PM    1,3
2:58:50 PM    1,6,3
3:00:57 PM    1,6
3:02:17 PM    1,6
3:02:46 PM    1,3
3:03:03 PM    6,1,3,6
3:03:23 PM    1,6
3:04:40 PM    1,3
3:05:31 PM    1,6
3:07:15 PM    1,6
3:08:42 PM    3,6


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Appearance Sheet For the United States District Court Western District of Virginia Charlottesville
                                                                                    [CVILLE-3FTR]

3:08:44 PM    1,3
3:09:22 PM    1,6
3:09:24 PM    1,7
3:10:03 PM    1,8
3:10:18 PM    1,3
3:11:00 PM    1            Remarks by Court
3:14:15 PM    3
3:14:15 PM    1
3:15:16 PM    1,3
3:15:17 PM    1,5
3:15:22 PM    1,6
3:15:30 PM    1,7
3:15:35 PM    1,5,6
3:16:20 PM    1,7
3:16:41 PM    1,6
3:17:08 PM    1,4          Consents
3:19:38 PM    1,7
3:20:00 PM    1,5
3:21:13 PM    1,5
3:22:10 PM    1
3:23:01 PM    1,6,5
3:23:38 PM    1
3:24:16 PM    2
3:25:03 PM    1,3
3:25:06 PM    1,5
3:25:35 PM    1,3
3:26:12 PM    1            Court needs contact information for Mosley
3:26:54 PM    5,1
3:27:15 PM    1,5
3:28:00 PM    1,6,
3:28:08 PM    1,7
3:28:13 PM    1,8
3:28:21 PM    1
3:28:32 PM    1            Order will issue
3:28:57 PM    END




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